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                      IN THE UNITED STATES DISTRICT COURT

                    FOR THE SOUTHERN DISTRICT OF GEORGIA

                                  AUGUSTA DIVISION

EUGENE MICHAEL GROSS,                         )
                                              )
              Petitioner,                     )
                                              )
       v.                                     )         CV 117-021
                                              )         (Formerly CR 115-077)
UNITED STATES OF AMERICA,                     )
                                              )
              Respondent.                     )


            MAGISTRATE JUDGE’S REPORT AND RECOMMENDATION


       Petitioner, an inmate at the Federal Correctional Institution in Edgefield, South

Carolina, has filed a motion under 28 U.S.C. § 2255 to vacate, set aside, or correct his

sentence. For the reasons set forth below, the Court REPORTS and RECOMMENDS the

§ 2255 motion be DENIED, this civil action be CLOSED, and a final judgment be

ENTERED in favor of Respondent.

I.     BACKGROUND

       A.     Indictment and Agreement to Plead Guilty

       On August 4, 2015, the grand jury in the Southern District of Georgia charged

Petitioner and fifteen co-defendants in a thirty-three-count indictment alleging numerous

drug and firearm-related crimes associated with a conspiracy to distribute and possess with

intent to distribute controlled substances. United States v. Gross, CR 115-077, doc. no. 1

(S.D. Ga. Aug. 4, 2015) (hereinafter “CR 115-077”). The indictment charged Petitioner in

four counts: one conspiracy count, two counts of use of a communications facility in causing
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or facilitating the commission of a felony, and one count of possession of a firearm by a

convicted felon. Id. The Court appointed attorney Wendell E. Johnston, Jr., under the

Criminal Justice Act to represent Petitioner. Id., doc. no. 146.

       On February 17, 2016, Petitioner appeared with counsel before Chief United States

District Judge J. Randal Hall and pled guilty to Count One of the indictment: Conspiracy to

Distribute and Possess with Intent to Distribute Controlled Substances, in violation of 21

U.S.C. §§ 846 and 841(b)(1)(D). Id., doc. nos. 309-11, 353 (Rule 11 Tr.). In exchange for

the guilty plea, the government agreed to (1) dismiss the remaining three counts with which

Petitioner had been charged in the indictment; (2) not to object to a recommendation for a

two-point acceptance of responsibility reduction and to move for an additional one-point

reduction under the Sentencing Guidelines if Petitioner’s offense level was sixteen or greater

prior to the acceptance of responsibility reduction; and (3) consider filing a motion, based on

any “substantial assistance” provided by Petitioner, for downward departure under U.S.S.G.

§ 5K1.1 or requesting a reduction of Petitioner’s sentence under Fed. R. Crim. P. 35. Id.,

doc. no. 311 (Plea Agreem’t).

       For his part, Petitioner admitted the factual basis for his guilty plea as follows:

       The elements necessary to prove the offense charged in Count One are (1) that
       the Defendant conspired or agreed with another person, to try to accomplish a
       common and unlawful plan, as charged, (2) that, knowing the unlawful
       purpose of the plan, the Defendant willfully joined in it; and (3) that the object
       of the unlawful plan was to distribute or possess with intent to distribute
       marijuana.

       Defendant agrees that he is, in fact, guilty of Count One. He agrees to the
       accuracy of the following facts, which satisfy each of the offense’s required
       elements:

       That beginning on or before August 17, 2013, the exact beginning date being
       unknown to the Grand Jury, and continuing until the return of this indictment,
       in Jefferson County in the Southern District of Georgia, and elsewhere, the
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        defendant herein, EUGENE MICHAEL GROSS, did knowingly and
        intentionally combine, conspire, confederate, and agree together with other
        persons known and unknown, to commit certain offenses against the United
        States, that is, to distribute and to possess with intent to distribute marijuana, a
        Schedule I controlled substance, in violation of Title 21, United States Code,
        Sections 841(a)(1) and 846. With respect to EUGENE MICHAEL GROSS
        as a result of his own conduct, and the conduct of other conspirators, it was
        reasonably foreseeable to him that this conspiracy involved marijuana in
        violation of Title 21, United States Code, 841(b)(1)(D).

Id. at 2.

        As part of his plea agreement, Petitioner also agreed to waive the right to file a direct

appeal of his conviction and sentence unless his sentence exceeded the statutory maximum,

the sentencing court upwardly departed from the advisory Guideline range, or the

government appealed the sentence. Id. at 5. Petitioner further waived his right to collaterally

attack his conviction and sentence for any reason except for raising a claim of ineffective

assistance of counsel. Id. at 6.

        B.     Sentencing

        Upon entry of the guilty plea, the United States Probation Office prepared a

Presentence Investigation Report (“PSI”), which set Petitioner’s Total Offense Level at 23,

Criminal History Category at III, and Guideline imprisonment range at 57 to 71 months. PSI

¶¶ 27, 36, 56. However, because the statutory maximum term of imprisonment for the

charge to which Petitioner pled guilty was five years, 21 U.S.C. § 841(b)(1)(D), the

Guideline imprisonment range changed to 57 to 60 months. PSI ¶ 55, 56.

        Petitioner originally raised one objection to the PSI, relating to an increase in his

offense level for possession of a firearm, but that objection was withdrawn. See PSI Add.;

CR 115-077, doc. no. 498, Sent. Tr. 2-3. Chief Judge Hall sentenced Petitioner on June 23,

2016, to a term of imprisonment of 60 months. Sent. Tr. 7; CR 115-077, doc. nos. 421, 427.

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All other remaining charges against Petitioner were dismissed, and judgment entered on June

27, 2016. Sent. Tr. 10; CR 115-077, doc. no. 427.

       C.     Post-Conviction Proceedings

       Consistent with the plea agreement and the Post-Conviction Consultation

Certification signed by Petitioner and his counsel, Petitioner did not file a direct appeal.

Plea Agreem’t, p. 5; CR 115-077, doc. no. 428. Petitioner did decide, however, to file a

§ 2255 motion, which the Clerk of Court docketed on February 8, 2017. (Doc. no. 1.)

Petitioner raises one claim of ineffective assistance of counsel, “During the sentencing

process the attorney fail[ed] to argue the Amendment 794, which affords the defend[a]nt the

right to be heard on a minor role in a conspiracy.” (Id. at 4.) Petitioner seeks to be re-

sentenced with the benefit of a minor role reduction. (Id. at 12.) Respondent argues the

§ 2255 motion should be denied because Mr. Johnston had no basis upon which to argue for

a minor role reduction. (Doc. no. 3.)

II.    DISCUSSION

       A.     Under Strickland v. Washington, Petitioner Bears a Heavy Burden on an
              Ineffective Assistance of Counsel Claim.

       Ineffective assistance of counsel claims are subject to the two-part test enunciated in

Strickland v. Washington, 466 U.S. 668 (1984). See Massaro v. United States, 538 U.S. 500,

505 (2003). Petitioner must show that counsel was constitutionally ineffective under the two

prongs of Strickland by proving defense counsel’s performance was deficient and prejudicial.

Under the first prong, Petitioner must show that “counsel’s representation fell below an

objective standard of reasonableness.” Strickland, 466 U.S. at 688. In this regard, “[a]

petitioner must overcome a strong presumption of competence, and the court must give


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significant deference to the attorney’s decisions.” Hagins v. United States, 267 F.3d 1202,

1204-05 (11th Cir. 2001).

       A court, however, “need not determine whether counsel’s performance was deficient

before examining the prejudice suffered by the defendant as a result of the alleged

deficiencies . . . . If it is easier to dispose of an ineffectiveness claim on the ground of lack of

sufficient prejudice, which we expect will often be so, that course should be followed.”

Strickland, 466 U.S. at 697; see Brooks v. Comm’r, Ala. Dep’t of Corr., 719 F.3d 1292, 1301

(11th Cir. 2013). Under the prejudice prong of Strickland, a petitioner must show “that there

‘is a reasonable probability that, but for counsel’s unprofessional errors, the result of the

proceeding would have been different. A reasonable probability is a probability sufficient to

undermine confidence in the outcome.’” Brooks, 719 F.3d at 1300 (quoting Strickland, 466

U.S. at 694). Importantly, prejudice cannot result when counsel fails to raise a meritless

issue. United States v. Winfield, 960 F.2d 970, 974 (11th Cir. 1992).

       B.      Petitioner Fails to Show He Is Entitled to Relief Based on the Conclusory
               Claim that Counsel Should Have Argued for a Minor Role Reduction.

       In a claim devoid of factual or legal support, Petitioner contends he received

constitutionally ineffective assistance of counsel because Mr. Johnston failed to “argue the

Amendment 794.”        (Doc. no. 1, p. 4.)     Presumably, Petitioner bases his argument on

Amendment 794 to the United States Sentencing Guidelines, which, effective November 1,

2015, set out guidance for the determination of whether a defendant should be granted a

mitigating role reduction under U.S.S.G. § 3B1.2. Under this provision of the Guidelines, a

sentencing court may apply a two-level reduction to the base offense level “if the defendant

was a minor participant in any criminal activity.” U.S.S.G. § 3B1.2(b). The comments to

§ 3B1.2 explain a minor role reduction is available to a defendant “who plays a part in
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committing the offense that makes him substantially less culpable than the average

participant in the criminal activity.” Id. cmt. n.3(A).

         However, Amendment 794 made no substantive change to § 3B1.2.                  Rather,

Amendment 794 “merely clarified the factors to consider for a minor-role adjustment.” See

United States v. Cruickshank, 837 F.3d 1182, 1194 (11th Cir. 2016). Post Amendment 794,

the commentary to § 3B1.2 lists the following considerations for analyzing a minor-role

claim:

         (i)     the degree to which the defendant understood the scope and structure of
                 the criminal activity;

         (ii)    the degree to which the defendant participated in planning or
                 organizing the criminal activity;

         (iii)   the degree to which the defendant exercised decision-making authority
                 or influenced the exercise of decision-making authority;

         (iv)    the nature and extent of the defendant’s participation in the commission
                 of the criminal activity, including the acts the defendant performed and
                 the responsibility and discretion the defendant had in performing those
                 acts;

         (v)     the degree to which the defendant stood to benefit from the criminal
                 activity.

United States v. Monzo, 852 F.3d 1343, 1346 (11th Cir. 2017) (citing U.S.S.G. § 3B1.2 cmt.

n.3(C))

         As the proponent of the reduction, Petitioner bears the burden of showing his

mitigating role by a preponderance of the evidence. See United States v. De Varon, 175 F.3d

930, 939 (11th Cir. 1999) (en banc). However, he offers absolutely no factual or legal

argument in support of his contention that he was eligible for a minor-role reduction. As


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Respondent succinctly summarizes, the uncontested information in the PSI and presented in

the proceedings before Chief Judge Hall demonstrates Petitioner’s involvement in the drug

conspiracy to which he pled guilty was not minor:

       On February 12, 2015, agents intercepted a phone call between [Petitioner]
       and Howard in which Howard told [Petitioner] that he got 100 pounds of
       mari[j]uana and was attempting to get 100 more pounds. [Petitioner] told
       Howard that he [(Petitioner)] had sold 20 pounds and wanted to get at least
       that many more the next time. (PSR ¶¶ 7-9.) Further, Melvin Howard stated
       that between January 2011 and October 2011, he provided [Petitioner] with
       approximately 30 to 40 pounds of mari[j]uana every three weeks, totaling 360
       to 480 pounds. (PSR ¶ 12.) In late 2011, Howard was arrested and remained
       incarcerated until 2014. Upon his release, around December 2014 or January
       2015, Howard began supplying [Petitioner] with marijuana again. At first,
       [Petitioner] bought four pounds of a high grade mari[j]uana from Howard.
       (Id.) [Petitioner] later purchased 15 to 25 pounds in 2015. (Id.) Howard also
       knew that [Petitioner] received mari[j]uana from another dealer out of
       Statesboro, Georgia, as well. (Id.)

(Doc. no. 3, pp. 6-7); see also Rule 11 Tr. 17-21 (describing intercepted telephone calls and

physical surveillance leading law enforcement to conclude Petitioner was setting up

transactions to buy large quantities of marijuana from co-conspirator); Plea Agreem’t, pp. 2,

4 (admitting factual basis for conspiracy conviction and agreeing offense involved at least

100 kilograms but less than 400 kilograms of marijuana for sentencing purposes); Sent. Tr. 4

(explaining personal financial difficulties led Petitioner to join conspiracy).

        As Petitioner offers nothing in support of his claim of entitlement to a minor-role

reduction, and in light of the information set forth above, Mr. Johnston had no basis for

arguing for a minor-role reduction. Petitioner had established a long-standing criminal

relationship with his co-defendant and drug source, Melvin Howard. Petitioner was in direct

contact with co-defendant Howard and personally met with him to pick up the marijuana in

amounts Petitioner requested. He participated in the conspiracy for his own financial gain.

As tested against the guidance added by Amendment 794 for consideration of requests for a
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reduction under U.S.S.G. § 3B1.2, all of these factors counsel against a minor-role reduction,

and Mr. Johnston cannot be faulted for failing to argue for such a reduction.

       No prejudice can be shown for failing to raise a meritless issue. See Winfield, 960

F.2d at 974. Likewise, in choosing not to raise an argument without merit, Mr. Johnston’s

performance was not deficient. See United States v. Freixas, 332 F.3d 1314, 1319-20 (11th

Cir. 2003) (explaining that, to establish deficient performance by counsel, a petitioner must

demonstrate “no competent counsel would have taken the action that his counsel did take”

(citation and quotation omitted)).      Thus, Petitioner cannot satisfy either prong of the

Strickland test, and his ineffective assistance of counsel claim fails.

III.   CONCLUSION

       For the reasons set forth above, the Court REPORTS and RECOMMENDS the

§ 2255 motion be DENIED, this civil action be CLOSED, and a final judgment be

ENTERED in favor of Respondent.

       SO REPORTED and RECOMMENDED this 8th day of May, 2017, at Augusta,

Georgia.




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